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                                                                                 United States Courts
                                                                               Southern District of Texas
                           UNITED STATES DISTRICT COURT                                 FILED
                            SOUTHERN DISTRICT OF TEXAS                              June 29, 2022
                                 HOUSTON DIVISION
                                                                             Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA                        '
                                                '
               VS.                              '   CRIMINAL NO.
                                                '
MONIQUE RENEE LIGGINS                           '
                                                                            4:22-cr-311
                                          INDICTMENT

The Grand Jury charges:

                                          COUNT 1
                               (Misappropriation of Postal Funds)

       From on or about December 3, 2020, through on or about December 21, 2020, in the

Southern District of Texas and elsewhere within the jurisdiction of the Court, defendant,

                                MONIQUE RENEE LIGGINS,

being a United States Postal Service employee, did convert to her own use and without lawful

authorization, property valued in excess of $1,000.00 under her control in the execution of her

employment and service as a Postal employee.

       In violation of Title 18, United States Code, Sections 1711 and 2.

                                                    A TRUE BILL



                                                    FOREPERSON OF THE GRAND JURY

       JENNIFER B. LOWERY
       United States Attorney




By:
       Heather Winter
       Assistant United States Attorney
